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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
  DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,
                                                           Civil Action No. 2:15-cv-998
                 v.

  NVIDIA CORPORATION,

                         Defendant.


                      ORDER OF DISMISSAL WITHOUT PREJUDICE

         In light of the Joint Motion to Dismiss filed by Plaintiff, Display Technologies, LLC

 (“Plaintiff”) and Defendant Valve Corporation (“Defendant”), the Court HEREBY ORDERS as

  follows:
 .
         1.     Plaintiff’s claims against Defendant are hereby dismissed without prejudice.

         2.     Defendant’s counterclaims against Plaintiffs are hereby dismissed without

 prejudice.

         3.     Plaintiff and Defendant shall each bear their own attorneys’ fees and costs incurred

 in connection with this action.

         4.     Plaintiff and Defendant shall move for an order dismissing all of Plaintiff’s claims

 against Defendant with prejudice and Defendant’s counterclaim for invalidity without prejudice

 and for non-infringement with prejudice once the settlement agreement is executed by all parties.
         SIGNED this 3rd day of January, 2012.
         SIGNED this 14th day of January, 2016.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
